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                          Exhibit 8:
            Dr. John Ulrich Expert Report
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                     Expert Report of John Ulrich PhD
OVERVIEW
    1. This report presents the actuarial-based predicted risk of sexual recidivism
of the male plaintiffs in Does III based on their Static-99R scores (1) at the time
they were released into the community, and (2) adjusted for time offense-free in
the community since. The Static-99R scores provide both a standard risk classifi-
cation and a numeric value (percentage) of predicted risk as of the time of release.

    2. All seven Does III male plaintiffs have been in the community (ranging from
8 years to over 20 years) without having committed new sexual or criminal offen-
ses (other than traffic offenses). The Static-99R scores and corresponding numeric
values for these plaintiffs were then entered into the “Time Free in the Community
Calculator” (found at the Society for the Advancement of Actuarial Risk/Need
Assessment (SAARNA) website) to determine what their predicted risk of recid-
ivism is today, and when they will be, or have been, considered to have “desisted”
from sexual offending, as defined in the research literature.

SUMMARY OF FINDINGS

    3. All seven assessed male plaintiffs in Does III were classified in the Level
III/Average risk classification (Static-99R scores of 1, 2 or 3) at the time of their
release into the community. Based on time offense-free in the community since,
none of them remain in that classification. Six of the seven are in the Level I/Very
Low Risk category, and the seventh will drop to Level I in May 2023, absent a new
offense. Those six have attained a risk level that is deemed to be “desistance” in
the research literature. Indeed, four of the seven (Mr. Does B, C, D, and E) have a
lower statistical probability for committing a new sexual offense than released non-
sexual offenders, or average adult males in the general public, have for committing
a sexual offense “out of the blue” during their lifetime.

    4. One male plaintiff could not be tested because he had never committed a
sexual offense (though he remains on the registry for life). The two women plain-
tiffs could not be tested because there is no instrument comparable to the Static-
99R that is “normed” for women who commit sexual offenses, in part because so
few women commit such offenses, and very few of those re-offend. I have added a


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short section at the end of this report describing the extremely low generalized risk
of re-offending by such female offenders.
QUALIFICATIONS
    5. I have been a licensed psychologist in Michigan since 1996. I have main-
tained a solo private practice since 2004. As a component of my private practice, I
provided psychological services and risk assessment and treatment for the Michi-
gan Department of Corrections (MDOC) for sexual offenders in the community on
probation or parole for Leelanau, Grand Traverse, and Benzie Counties from 1996
to 2011. I continue to provide assessment and treatment for pretrial cases and
supervised release individuals convicted of sexual offenses for the United States
District Court, Western District of Michigan from 2004 to date. This includes all
the counties in the norther lower peninsula of the Western District. Independently,
I provide risk assessments to defense attorneys for individuals accused of sexual
offenses in the pretrial phase as well as for the courts in the presentence phase of
the criminal proceedings. These reports have been filed in the 13th, 19th, 33rd, 57th
and 53rd Circuit Courts in Michigan. I also provide risk assessments of juveniles
with sexual behavioral problems at both the pre- and post-adjudication phases, and
in the Family Divisions of these circuit courts and others. I provide evaluations for
individuals alleged of child sexual abuse or those with prior convictions for sexual
offenses, for Child Protective Services of the Michigan Department of Health and
Human Services, throughout the northern counties of the lower peninsula.

   6. I am a guest lecturer on sexual offending and paraphilias to the Human
Sexuality and Abnormal Psychology classes at Northwestern Michigan College. I
serve on the board of the Michigan Chapter of the Association for the Treatment of
Sexual Abusers (ATSA) in the role of written communications chair.

   7. I have testified as an expert witness in many individual cases. My focus as a
community-based psychologist has emphasized staying current with the develop-
ments in the field of assessment and treatment of sexual offending, as indicated by
the extensive continuing education and training reported in the true copy of my
CV. While I have submitted many reports to courts, I have not testified as an
expert in the last ten years.



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RATIONALE FOR REFERRAL
    8. For two decades, the Static-99R has enabled corrections professionals and
treatment staff to assess and prioritize treatment services, level of supervision, and
monitoring needs for people who have been convicted of sexual offenses. The
instrument places an individual into a group classification (Level I is the lowest
risk level and Level IV(b) is the highest risk level) providing statistical support to
compare differences between groups and allocate resources accordingly. Static-
99R scores were originally thought to be unchanging, meaning “once an individual
has been assigned a risk level, that label applies in perpetuity.” (Thornton, 2021, p.
4.) In light of the most up-to-date research, however, this is no longer the case. Id.
In the past, each risk classification had an assigned “absolute recidivism” rate, but
sample sizes were not large enough, and studies were not long enough, to provide
statistical confidence beyond ten years.

    9. As sample sizes have grown and study times have lengthened, the Static-
99R was re-normed to conform to the new actuarial data, putting more emphasis
on desistance from sexual offending over time. Researchers have documented how
initial risk classifications change over time when people live in the community
with no further sexual offenses beyond five and 10 years (or later). Researchers
have developed a Time Free Calculator to assign actuarial predicted risk to demon-
strate changes within an individual’s risk over time, rather than only the group
comparisons based on the original standard classification of risk. (Thornton, 2021.)

   10. This change has enormous implications for the development of risk-based
community supervision and monitoring for people with sexual offense histories
and draws on the most current research of the leading social scientists in the field.
Older policies, based on the discredited notion that people who have committed a
sex offense remain high risk forever, are outmoded because such policies result in
inefficient use of community resources and extremely expensive ongoing monitor-
ing, long after people no longer pose a risk to society. Updated Static-99R scores
are the best predictor of current risk of people on the registry.
THE STATIC-99R
   11. The Static-99R is the most widely used actuarial-based risk prediction tool
for sex offenses. (Kelley, 2020.) It is the risk prediction tool of choice for the
MDOC and its contracted clinicians in the field. The Static-99R provides the
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standard language used by probation and parole officers, clinicians, and other
community stakeholders throughout the state.

   12. Static-99R Samples, Norms, and Risk Language: The Static-99R uses a
separate set of predicted recidivism rates for people predetermined to be High
Risk/High Need (HRHN) independent of their Static-99R score. Because none of
the Does III male plaintiffs met the criteria for inclusion in the HRHN sample, I
have scored all of them using the actuarial-based Routine/Correctional sample.

    13. The Static-99R score classifies individuals into one of five risk categories
corresponding with the bell-shaped curve of distribution. This provides a frame-
work for understanding what the score means. The five levels range from Level
I/Very Low Risk to Level IVb/Well Above Average Risk. (Hanson, 2017.) Level
III/Average Risk is the middle classification and, consistent with the bell curve
distribution, most individuals convicted of a sexual offense fall into this group. All
seven of the Does III plaintiffs were in Level III/Average Risk at the time of their
release. Prior to the development of the time offense-free calculations, individuals
would always remain in their initial classification unless they committed another
sexual offense, which would increase their risk classification. But an individual’s
risk classification could never go down. Now we have the research to support
lowering individuals’ risk classification based on their post release behavior over
time.

    14. A predicted recidivism rate (a percentage) is assigned to each Static-99R
score based on actuarial science. This is also called the “numeric value” or “abso-
lute recidivism rate.” This is “arguably the most useful and easiest understood
metric for reporting risk of reoffense. It is the percent likelihood of reoffending for
people with the same risk score.” (Hanson, 2017, p. 4.) The predicted recidivism
rates are derived from a broad range of sample groups studying thousands of
offenders from eight western nations from 2003 to 2018 and include confidence
interval at the 95th percentile for each of the Does’ Static-99R scores.

    15. The recidivism tables used for estimating 20-year rates are reported in the
Static-99R & Static-2002R Evaluators’ Workbook. (Helmus, 2021, supplementing
Lee and Hanson, 2021.) In estimating 20-year rates, “given known initial hazard
rates, the 20-year projections would be expected to have error rates of between ±1

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percentage points and ±5 percentage points, with the larger error rates associated
with larger estimated recidivism rates.” (Thornton, 2021, p. 20.) Not surprisingly,
because the Does III plaintiffs all had very low predicted recidivism rates, using
this method produces a 95th percentile confidence interval ±1% for each of them.

    16. Predicted 20-year Estimate (Extrapolating to Lifetime): In a series of three
papers (Hanson, 2014; Hanson, 2017; and Thornton, 2021), the world’s leading sex
offense researchers found that the 20-year predicted recidivism rate (even for high-
er risk offenders) was virtually the same as the predicted lifetime rate. In other
words, if researchers were able to follow all individuals until their death, they
would observe rates similar to the predicted 20-year estimates, because those who
make it to 20 years offense-free in the community almost never commit another
sex offense thereafter. Accordingly, the authors have used the 20-year rate as an
acceptable estimate of the lifetime rate because the hazard of reoffending after 20
years offense-free in the community is negligible. (Thornton, 2021, p. 10.) The
researchers developed an actuarial-based “Time Free in the Community Calcu-
lator,” using the statistical method of discrete survival analysis. For each given
year a “hazard rate” is calculated that represents the probability of reoffending for
a person with that original Static-99R score, for each year in the community
offense-free after release. (Thornton, 2019.)

   17. Threshold for Determining Desistance: The researchers also found that at
some point all male registrants who remain offense-free in the community will
reach a point where their risk of reoffending sexually is the equivalent of other
males released from prison (with non-sexual offenses) who are not subject to
registration and monitoring. For this report, I used an even more conservative
threshold of a predicted recidivism rate – less than 1.5% at five years or less than
3% at the estimated 20-year level – to define “desistance.” This corresponds with
entering the Level I/Very Low Risk classification. This also approximates the 1% -
2% baseline rate for adult males in the United States (with no prior criminal
history) being charged or convicted of a sexual offense “out of the blue.” (Hanson,
2017.) Of course, that population, too, is not subject to registration and monitoring.

   18. Five of the plaintiffs attained this desistance threshold some years ago, a
sixth reached that threshold more recently, and the final plaintiff will—absent a
new offense—reach it in 2023. (By chance, while I was scoring the plaintiffs, I

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attended a virtual presentation by the researchers Thornton, Kelley, & Hanson,
called “Looking Forward and Looking Back: Estimating Recidivism and Time to
Desistance,” 40th Annual ATSA Research and Treatment Conference, September
30, 2021. The presenters confirmed my own understanding of how to score and
update the risk calculation of people like the plaintiffs, and answered my questions
and gave me great confidence in the work I did for this case.)
Michigan Statutory Tier System for Community Notification and Monitoring:
   19. Michigan has a three-tiered classification system that is based on the
conviction and not on assessed risk. Tier 1 results in 15 years of reporting but (for
most people) no public notification. Tier 2 is 25 years of reporting and inclusion on
the online public registry, and Tier 3 is lifetime for both reporting and the public
registry. See Michigan Sex Offenders Registration Act, M.C.L. § 28.721 et. seq. In
Does III, one plaintiff has a Tier 1 classification, one plaintiff is a Tier 2, while all
the others are Tier 3 (resulting in lifetime reporting and monitoring regardless of
whether they have attained desistance).
EVALUATION PROCEDURES:
   20. The plaintiffs’ attorneys referred seven individuals for this examiner to
review and obtain their scores on the Static-99R as of the time of their release into
the community. The attorneys also provided criminal history records confirming
the plaintiffs’ underlying sexual offense convictions and any subsequent criminal
history or lack thereof. The most recent underlying sex offense was from 2015; the
others ranged from that date to over 20 years ago. This examiner conducted video
conference interviews with five of the seven individuals. Two plaintiffs were not
able to secure a private location for videoconferencing and completed an interview
by phone. The referring attorneys provided the plaintiffs’ results of an Internet
Criminal History Access Tool (ICHAT) search conducted on August 5, 2021. That
information was used to confirm reported criminal histories. One plaintiff had no
legal records from the time of the out-of-state offense but the ICHAT search
confirmed his reported conviction and the absence of any other convictions. Other
plaintiffs had more complete records, such as police reports and presentence
investigation reports.

  21. All the plaintiffs completed a video conference or telephone interview with
me. I also had access to various legal records to confirm self-reported information

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about the original offense and the person’s time offense-free in the community. No
plaintiffs have been removed from the community for extended periods (for events
such as lengthy hospitalization) after their release into the community, so I counted
all of their time since release. The Static-99R score for everyone was assigned a
numeric value for the predicted recidivism rates at the estimated 20-year (lifetime)
metric. This numeric value was then entered into the Time Free in the Community
Calculator downloaded from the SAARNA website.
FINDINGS
     22. Group Overview: All seven plaintiffs in Does III who committed a sex
        offense were classified in the Level III/Average risk classification (Static-
        99R scores of 1, 2 or 3) at the time of their release into the community.
        Based on time offense-free in the community, none of them remain in that
        classification. Six of the seven are in the Level I/Very Low Risk category,
        and the seventh will drop to Level I in May 2023, absent a new offense.
        Four of the seven (Mr. Does B, C, D, and E) have an even lower statistical
        probability for committing a new sexual offense than the average adult
        male in the general public has of committing a sexual offense “out of the
        blue.”

     23. In six of the seven cases, judges handed down sentences to local condi-
        tions such as short jail sentences and probation. Yet, five of the seven
        plaintiffs are still subject to Tier 3 classification and lifetime sex offender
        registration. The Tier 2 classified plaintiff was sentenced to 60 days in jail.
        Yet he remains on the sex offender registry until 2038. The Tier 1 plaintiff
        will remain on the registry until 2031. Since the single convictions for
        sexual offenses, all seven plaintiffs’ have had no criminal convictions.

     24. The Eighth Plaintiff: One plaintiff (John Doe A) could not be scored on
        the Static-99R risk assessment because he was not convicted of any sex
        offense. I therefore did not score him or interview him. Nonetheless he is
        on Michigan’s sex offender registry, for a non-sexual child kidnapping
        offense committed in 1990. As an individual with no sex offense history
        but a criminal history, his risk for committing a sexual offense at the time
        of release would be comparable to that of males released from prison who
        committed a non-sexual offense but have no sex offense history, which is

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         around 2% after five years. (Kahn, et al. 2017; Hanson, et al. 2018.) With
         the passage of time offense-free in the community, that number would
         decline. Plaintiffs’ counsel have provided me with documents showing that
         Mr. Doe A has lived in the community offense-free for 12 years, since his
         parole in 2009.

     25. Because the underlying research on desistance from sexual offending is
        based on the much broader literature on desistance from crime in general
        (Laws, 2011), and because Mr. Doe A never committed a sex offense, I do
        not understand the utility of putting him on the registry, let alone putting
        him on it for life as a Tier 3 registrant.
          Scored Plaintiffs’ Individual Results: Does B, C, D, E, F, G, and H.


     26. Mr. Doe B was sentenced to probation on April 21, 1998. He was 19
        years old at the time and had never lived with a lover for more than 2
        years. He was not related to the victim. These variables contributed to a
        score of 3 and a 12.5% projected recidivism rate at 20 years at the time of
        release. This means that 13 out of 100 individuals would be expected to
        sexually reoffend and 87 would not. This score placed him in the Level
        III/Average Risk classification. He was reevaluated on September 11,
        2021. Mr. Doe B has been offense free for over 23 years. Thirteen years
        ago (2008) his predicted risk would have declined to Level I/Very Low
        Risk, indicating desistance from sexual offending. In 2017, his estimated
        residual risk would be less than 0.1%, indicating that more than 99 out of
        100 individuals like Mr. Doe B would remain sexual offense free for the
        rest of their lives. His current risk would be even lower, and is no greater
        than a male in the public who has not committed a sexual offense.

     27. Mr. Doe B is in Tier 3 in the Michigan system and has lifetime monitor-
        ing and reporting.

     28. Mr. Doe C was released in December 2006 at the age of 25. He had been
        in a committed relationship for 4 or 5 years prior to the offense. He was not
        related to the victim. His Static-99R score at the time of release was 2 and
        the 20-year projected recidivism rate was 8.9. This means 9 of 100

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         individuals would be predicted to reoffend and 91 would not. The score is
         in the Average Risk (Level III). Mr. Doe C entered the Level I/Very Low
         Risk classification in 2014. He was reassessed on October 4, 2021, which
         produced predicted recidivism risk of 0.9%. This is well below the Level l
         /Very Low Risk classification. This risk of less than 1% reaches the
         threshold of the general adult male population who have no criminal
         history. In other words, his risk of committing a new sexual offense is no
         greater than a male in the public who has not committed a sexual offense.

     29. Mr. Doe C is classified as Tier 3 in the Michigan system and is subject to
         lifetime monitoring and reporting.

     30. Mr. Doe D served 34 days in jail and was released in 2000. While on
        probation, he attended a sporting event at the high school campus with a
        friend, which was a violation of the terms of probation. While the judge
        understood this to be based on a lack of understanding of the rules, the
        judge determined this was a violation and sentenced him in June, 2001.
        The judge ordered three additional years of probation. Mr. Doe D was
        never on a GPS tether for monitoring. He was 19 years old at the time of
        the violation sentence. He had been living at his family home and had not
        lived with a lover for 2 or more years. He was not related to the victim.
        This results in a Static-99R score of 3 with a 20-year estimated risk of
        12.5%, which meant he was a Level III/Average Risk classification at the
        time of release. This means 13 out of 100 individuals in his category would
        have been predicted to sexually reoffend and 87 would not. At the time of
        the reassessment on October 10, 2021, Mr. Doe D had been offense free in
        the community for 20 years and 4 months and his predicted risk is less than
        1%. Mr. Doe D crossed the threshold for a Very Low Risk classification
        ten years ago in 2011. His risk is no greater than a male in the public who
        has not committed a sexual offense.

     31. Mr. Doe D is in Tier 3 in the Michigan system and has lifetime monitor-
        ing and reporting.

     32. Mr. Doe E was released from jail in April 1995. He was 22 years old and
        had been living with his parents up until that time. He was convicted of an

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         offense involving a male relative. He had not lived with a partner for more
         than two years. This results in a Static-99R score of 3. His predicted recid-
         ivism rate for 20 years was 12.5% at the time of release. Out of 100 indiv-
         iduals, 13 would be expected to sexually reoffend and 87 would not. He
         would have been classified as Level III/ Average Risk. Mr. Doe E has been
         offense free in the community for 26-1/2 years. Sixteen years ago (2005),
         Mr. Doe E would have been classified as Level l/Very Low Risk with a
         lifetime residual risk less than 3%. Ten years ago (2011) his estimated
         residual risk would have been less than 1% where 99 out of 100 individ-
         uals would remain sexual offense free for the rest of their lives. That is no
         greater than a male in the public who has not committed a sexual offense.
         His risk would be even lower now.

     33. Mr. Does E is in Tier 3 in the Michigan system and has lifetime monitor-
        ing and reporting.

     34. Mr. Doe F was 25 years old at the time of his sentencing on May 30,
        2013. He received a sentence of probation and time served, making his
        sentencing date the same as his release date for scoring of the Static-99R.
        His relatively young age and not having lived with a romantic partner or
        lover for more than 2 years prior to his arrest each added a point on the
        Static-99R. He was not related to the underage female, but they knew each
        other. His Static-99R score is 3. His predicted recidivism rate for 20 years
        was 12.5% at the time of release. Out of 100 individuals in this classifi-
        cation, 13 individuals (12.5%) would be charged or convicted with a new
        offense and 87 would not. In the standardized risk language, this score is
        classified as Level III/Average Risk. On his reassessment date, August 8,
        2021, the plaintiff had been 8 years and 2 months in the community with
        no further criminal sanctions and no removal from the community for any
        time. Using the time offense-free in the community calculator, Mr. Doe F’s
        current residual lifetime risk for 2021 is now 4.0%. This means that four
        out of 100 men with the same score will be charged or convicted of a new
        sexual offense and 96 men will not be charged or convicted. This score
        places him in the Level II/Below Average Risk category. In one year and
        seven months (May 2023), absent a new sexual offense, Mr. Doe F will
        cross the threshold into Level I/Very Low Risk classification with the

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         residual lifetime risk of 2.8% – signifying desistance from sexual
         offending.

     35. Mr. Doe F has a Tier 2 classification in the Michigan state system,
        making him subject to registration, community notification, and monitor-
        ing until 2038.

     36. Mr. Doe G was released on approximately May 17, 2010, seven days
        before his 40th birthday. He had never lived with a lover for at least 2 years
        prior to his arrest in 2007. He was not related to the male victim. This
        gives him a Static-99R score of 3. His estimated 20-year risk at the time of
        release was 12.5%. This means, out of 100 individuals in this classifica-
        tion, 13 (12.5) would have been charged and convicted of a new offense.
        He would have been classified Level III/ Average Risk. When he was
        reevaluated on August 29, 2021, he had been in the community 11 years
        and 3 months. The calculator score resulted in a 2.4% risk of committing a
        new sexual offense. In other words, 3 out of 100 individuals would be
        convicted for a new sexual offense and 97 individuals would not. This
        score places him in Level I/Very Low Risk classification and is considered
        sexual offending desistance.

     37. Mr. Doe G is in Tier 3 in the Michigan system and has lifetime monitor-
        ing and reporting.

     38. Mr. Doe H was investigated in September 2014 but not arrested until
        April 30, 2015. He bonded out the next morning but was not sentenced
        until February 3, 2016. He did not receive any time in jail as a part of his
        sentence. Given these factors, the release date is considered May 1, 2015.
        He was married and 43 years old contributing to a score of 1 on the Static-
        99R. He was unrelated to the victim. His predicted recidivism rate for 20
        years was 6.3% when he was released. Out of 100 individuals in this
        classification, seven (6.3) would be charged or convicted of a new sexual
        offense and 93 would not. His classification was Level III/Average Risk.
        On the reassessment date, November 8, 2021, the plaintiff had been in the
        community with no other criminal sanctions or removal for 6 years and 6
        months. Using the Time Free Offense Calculator his current residual

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         lifetime risk is 2.7%. This means 3 out of 100 individuals would be
         convicted for a new sexual offense and 97 would not. This score places
         him in Level I/Very Low Risk classification and should be considered
         desistance from sexual offending.

     39. Mr. Doe H is a Tier 1 in the Michigan system and has 15 years of moni-
        toring and reporting. He will not be released from the registry until 2031.

SEXUAL RECIDIVISM AMONG FEMALES

    40. Among the Does III plaintiffs are two women convicted of sexual offenses.
“No instruments have been validated to assess risk of sexual recidivism among
women.” (F. Cortoni, personal communication, gender-informed assessment and
treatment approaches with women who sexually offend; online presentation to
Michigan chapter of ATSA, August 20, 2021.) The Static-99R is not validated for
women. (Marshall, Miller, Cortoni, & Helmus, 2020.) Therefore, these women
were not interviewed, and the following information represents what can be
reported about females who have committed sexual offenses in general.

    41. The base rate of sexual recidivism among women is very low, and given the
absence of a recidivism prediction tool, the base rate is the best available metric for
assessing risk and informing social and legal policies. There have been at least
three primary studies to establish the base rate for sexual recidivism among
women. The largest was a meta-analysis of 2,490 women. The authors found a
base rate of sexual recidivism of 1.5% at 6.5 years. (Cortoni, Hanson, & Coache,
2010.) There have been two confirmatory studies. Wijkman & Bijleveld (2013)
detected a 1.1% sexual recidivism rate among 261 females over a mean follow-up
of 13.2 years. The second study (Marshall, et al., 2020) involved 739 women with
a mean of 7 years follow-up and a 3.5% sexual recidivism rate. There were 26
recidivists in the second study. (There should be at least 100 recidivists for a find-
ing to be considered statistically stable. The second study was also limited to the
state of Texas and the 3.5% recidivism rate is an outlier compared to the larger
meta-analytic study and the other confirmatory study.)

   42. “Female sexual offenders are different from male sexual offenders [and] a
blanket application of male-based knowledge to them is not a viable option.”

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(Cortoni, personal communication, 2021.) Nonetheless, the base rate for women
and the actuarial predicted rates for men provide some comparison. The meta-
analytic study (Cortoni, et al., 2010) base rate of 1.5% at 6.5 years for women
compares to accepted base rate of 10% and 15% at the five-year interval for men.
Freeman and Sandler (2008) compared 390 matched pairs of males and females
convicted of sexual offense and found a 1% recidivism rate for women and a 5%
rate for men. (Marshall et al., 2020.) In the absence of a predictive tool, for a
woman to be considered high risk “the risk factors must be blatant (e.g., she tells
you she will do it again)” (Cortoni, personal communication, 2021.)

   43. Another perspective is to compare the women’s base rates from the three
studies to the Static-99R data for male recidivism. The meta-analytic study result
(Cortoni, et al. 2010) of 1.5% recidivism at 6.5 years by comparison, would be
lower than a Static-99R score of -1 (Level II/ Below Average Risk) for men who
have a predicted recidivism rate of 1.6% at 5 years. The Wijkman & Bijleveld
(2013) finding of 1.1% at the mean time of 13.2 years would be lower than the
lowest classification for men on the Static-99R (score of -3, Level I/Very Low
Risk, 1.2% at 10 years). The Marshall, et al. (2020) study base rate of 3.5% at 7
years would fall between a Static-99R score of 1 and 2 (Level III/Average)
whereby desistance for men occurs after 8 years offense-free in the community.

    44. There are no clear time-free calculations to compare women to men for
sexual recidivism. Among women with nonsexual crimes, “decline in offending
occurs considerably faster in women compared to men, except for chronic offen-
ders who follow the same pattern as chronic male offenders.” (Marshall et al.,
2020, p. 17.) Thus, for women who have been living offense-free in the commun-
ity, the risk of reoffending declines even faster than for men. So, women who are
not chronic offenders and have been living offense-free in the community for more
than a few years have a very low risk of reoffending.

   45. Mary Doe and Mary Roe were released to their communities in 2004 and
2006 (17 and 15 years ago), respectively. Both women had criminal background
checks (ICHAT) run on August 5, 2021. There were no new criminal charges or
convictions since release from the sexual offenses. This is not consistent with
chronic offending. Since the base rate for female sexual recidivism is between 1%
and 3% at the time of release, the 15- and 17-years of offense-free time strongly

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supports the conclusion that criminal desistance has occurred and the risk for
sexual offense would be extremely low.
COMPENSATION
I am providing the services of writing this report pro bono less direct expenses that
may be incurred.
Pursuant to 28 U.S.C. § 1746, I state under penalty of perjury that the above
statements are true and correct to the best of my knowledge, information, and
belief.




_____________________

John Ulrich, Ph.D.
Dated: December 10, 2021




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      recidivism rate norms for Static-99R with routine/complete samples. Law
      and Human Behavior, 45(1), 24-38. doi:10.1037/lhb0000436

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Thornton, D., Hanson, R. K., Kelley, S. M., & Mundt, J. C. (2021). Estimating
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Thornton, D., Kelley, S.M., & Hanson, R.K. (September 30, 2021) Looking
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     desistance. Presentation at 40th Annual ATSA Research and Treatment
     Conference (virtual).
Wijkman, M., & Bijleveld, C. (2013, October). Criminal career features of female
     sex offenders: Preliminary results. Paper presented at the 32th Annual
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     Sexual Abusers, Chicago, IL, US.




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                       Attachment 1:
              C.V. of John Ulrich, Ph.D.
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                                    C.V. OF JOHN ULRICH, Ph.D.
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                                     Traverse City, MI 49684-7547
                                    231.947.5646 | julrichphd@att.net


EDUCATION
  ANDREWS UNIVERSITY, Berrien Springs, MI
  Counseling Psychology, Ph.D.                                                1996

   GOSHEN BIBLICAL SEMINARY, Elkhart, IN
   Master of Divinity                                                         1986

   GOSHEN COLLEGE, Goshen, IN
   Bachelor of Arts in Interdisciplinary Studies                              1981

AWARDS
  LEOPOLD SCHEPP FOUNDATION SCHOLAR
  PHI KAPPA PHI

WORK EXPERIENCE
 JOHN ULRICH, Ph.D. Licensed Psychologist, Traverse City, MI
 Owner of independent practice                                                October 2004 – Present
 Provide individual, couple, group, and family therapy, psychological
 evaluations, and risk assessments and treatment for sexual offending
 (adult and juveniles). and the US Probation and Parole, Western
 District of Michigan. Provide forensic reports and testimony in courts
 throughout northern Michigan; District Courts 13th, 19th, 33rd, 53rd,
 and 57th.
   CAL MARITIME, California State University, Training Ship Golden Bear
   Counselor                                                                    April to May – 2017
   Provide individual and group counseling to students, faculty, and crew while May to June – 2015
   at sea. Guest lecturer on Mental Health and Seafarers                        June to July – 2014
   WEDGWOOD CHRISTIAN SERVICES, Traverse City, MI
   Clinical psychologist                                            October 1996 – September 2004
   Individual, couple, group and family therapy, and psychological
   evaluations and risk assessments and treatment for sexual offending
   (adult and juveniles). Service contract with Michigan Department of
   Corrections.
   PRE-DOCTORAL INTERN, Federal Medical Center, Rochester, MN                 October 1995 –
                                                                              September 1996
   Rotations: Diagnosis and Assessment, Mental Health Inpatient
   Hospital Residential Drug Treatment Program, Forensic Evaluation,
   one day Zumbro Valley Psychological Services, Olmstead County



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   Community Mental Health Center, weekly Mayo Clinic Psychology
   and Psychiatry, Grand Rounds

   FAMILY THERAPIST, Family Learning Center, South Bend and Elkhart, IN
   Family Therapist                                                       July 1989 – July 1995
   Provided individual, couple, group, and family therapy, provide court
   testimony in child abuse and neglect cases, Develop and lead Adult
   Male Sex Offender Group, Family assessments for the Juvenile Court
   determining services for neglected and abused children in their Brief-
   Solution Focused Employee Assistance Program, Evaluation special-
   ist for “Learning to Learn” after-school program, Respond to Critical
   Instant Stress Debriefing (CISD)

PRESENTATIONS
  Problematic Sexual Behavior, Panelist, Northwestern Michigan
   College, Human Sexuality. Each semester class is offered since
   2012                                                                         April 2021

   MI-ATSA Panelist: Bridging the Gap: Myths, Facts, and the Shared
   Goal of Reducing Sexual Violence, Lansing MI                                 November 2018

   Understanding Sexual Offending, Guest Lecture, Northwestern
   Michigan, College, Abnormal Psychology                                       October 2018

   Child Sexual Behavior: What’s Natural and What’s Not?
   Sponsored by Child Family Services of Northwest Michigan                    March 2008

   Childhood Sexual Abuse (CSA): The Who, What, When Where and
   How of CSA Sponsored by Child Family Services of Northwest
   Michigan                                                                     January 2008


PUBLICATIONS AND PAPERS
 “A Case Study Comparison of Brief Group Treatment and Brief Individual
   Treatment in the Modification of Denial among Child Sexual Abusers”
  [Doctoral dissertation]                                                       August 1996

MEMBERSHIPS
  American Psychological Association (APA)
  Michigan Psychological Association (MPA)
  Association for the Treatment of Sexual Abusers (ATSA)
  Michigan Chapter of the Association for the Treatment of Sexual Abusers (MI-ATSA)
    Board Member, Written Communication Chair

CONTINUING EDUCATION
  ATSA – 40th Annual Research and Treatment Conference - Our New Reality:
    Resilience and Reconnection.
  Research and Practice Developments in the Assessment and Enhancement

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    of Protective Factors: Toward Reducing Risk and Strengthening Community
    Safety and Wellbeing, Michiel de Vries Robbe and Mark Olver
   Ethical Practice in a Virtual World: Ethics of Telehealth Services Delivery
     Jill Stinson, Ph.D. September 29, 2021
   Looking Forward and Looking back: Estimating Lifetime Recidivism and Time
     To Desistance, David Thornton, Ph.D. Sharon Kelley, Psy.D., and
      R. Karl Hanson Ph.D., C.Psych. September 30, 2021
   Neurodevelopmentally-Based Practical Assessment and Treatment Methods
      for Juveniles Who Sexually Offended, Norbert Ralph, Ph.D. MPH
   Using Research to Guide Application of Static-99R, David Thornton Ph.D.
       and Maaike Helmus                                                         Sept - Oct 2021

   MPA and MI-ATSA - Assessment and Treatment of Women Who Sexually
    Offend, Franca Cortoni, Ph.D.                                                August 20, 2021

   APA – Pearson Clinician Assessments; Use of the MMPI-3 in Forensic Settings
     Martin Sellborn, Ph.D. Webinar                                            April 2021

   APA – Pearson Clinician Assessments; MMPI-3 Overview
    Martin Sellborn, Ph.D. Webinar                                               April 2021

   MPA and MI-ATSA – Child Pornography Offender Risk Tool Seminar
     Michael Seto Ph.D. Webinar                                                  February 2021

   MPA and MI-ATSA – Risk of Sexual Offending Against Children (ROSAC)
     Robert McGrath Virtual Conference                                           May 2020

   APA - Yes, We Do That Too: The Many Roles for Pain Psychologists
     Beth Darnell Webinar                                                        February 2020

   The Evolution of Practice in the Treatment of Youth Who Engage in Sexually
       Harmful Behavior, Phil Rich, Ed.D., LICSW Webinar                           February 2020

   ATSA – 38th Annual Research and Treatment Conference – Shaping the Future
      Optimizing Management of Hypersexuality and Sexual Preoccupation by the
        Combined Use of Medications and Behavioral Techniques
         Angeline Stanislaus, MD & Elizabeth Griffin, MA
      Sibling Sexual Abuse: Joining Together for Hope & Healing
        Jacqueline Page, Psy.D & Kim Byars, LCSW
     Helping Parents Shape Their Family’s Future When a Youth Has Offended
       Janice Church, Ph.D. & Karen Worley, Ph.D.
     They Need Somebody and Not Just Anybody: Help-Seeking Behavior in Minor-
       Attracted Persons and Their Informal Network, Wineke Smid, Ph.D.,
       Kasia Uzieblo, Ph.D., & Minne DeBoeck, M.Crim
     Assessment-Based Treatment Using the MIDSA
       Raymond Knight, Ph.D., Laurie Guidry, Psy.D., & Judith Sims-Knight, Ph.D.


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      Pre-Adjudicatory Assessment: Do or Do Not…
       Mandi Fowler, Ph.D., LICSW, PIP & Jill Beck, JD
      Assessment & Family Skills Training: How to Keep Families Together in the
       Wake of Sexual Abuse, April Roche, LICSW, Ashley Kellogg, LICSW, &
       Christopher Smith, MBA
      Going Upstream: The Fundamentals, Evolution, Context, and Practice of
       Primary Prevention, Linda Dahlberg, Ph.D.
      Atlanta, Georgia                                                          November 2019

   MiATSA – Sexual Development Birth Through Puberty: What is Normative?
    Sexualized Behavior Problems in Prepubescent Children – When is Clinical
    Intervention Necessary? Geraldine Crisci, MSW. DeWitt, MI                     October 2019

   MPA – Ethics: Working with Couples and Families, Risk Management with
     the Suicidal Patient, and Legal and Ethical Issues presented by Retirement
    Christopher Sterling, Psy.D. & Amanda Zelechoski, Ph.D., Livonia, MI          February 2019

   ATSA – 37th Annual Research and Treatment Conference – Better Together
     Being Evidence Based, Ruth E. Mann, PhD
     How Much Intervention is Enough? R. Karl Hansen, PhD, CPsych, Robert J.
        McGrath, MA
     A Myriad of Forces: The Impact of Sexual Arousal and Other Emotions on
        Sexual Behavior and Decision-Making, Erick Janssen, PhD
     Assessing Treatment Needs and Progress When Youth Have Sexually Abused
        Sue Righthand, PhD
    The Young and The Restless: Assessment and Intervention Strategies for Persistent,
         Sexually Violent Youth and Young Adults, Daniel Rothman, PhD,
         Lawrence Ellerby, PhD, CPsych
    Estimating Real Lifetime Rates of Sexual Recidivism: Reaching Beyond the Known;
       Evaluators’ Struggles with Extrapolation, David Thornton, PhD
    Using Survival Analysis to Estimate Lifetime and Residual Risk,
       R. Karl Hanson, PhD, CPsych
     The Undetected, Sharon Kelley, PsyD
    Pathways to Youth Sexual Violence: Abuse, Attachment, and Dysregulation:
      Relationship Matters: Attachment and Learning in Theory, Research, and
      Practice, Ariel Berman, MA
    Childhood Maltreatment Experiences, Attachment, Sexual Offending: Testing
      a Model, Melissa D. Grady, PhD, LICSW, Jamie R. Yoder, PhD, MSW,
      Adam Brown, PhD, LCSW
    Attachment Styles, Dysregulation, Criminogenic Needs, and Successive Sexual
      Offending, Jamie R. Yoder, PhD, MSW
     Deepening Our Understanding of Dynamic Risk: Theory and Practice. “Towards
      an Integrated Theory of Dynamic Risk, Protective Factors, and Agency,
      Roxanne Hefferman, MSc FPSY, PhD Cand., Tony Ward, PhD, Dip Clin Psych
     Incorporating Dynamic Risk Factors into Case Formulations: The Risk-Casualty
       Method,Tony Ward, PhD, Dip Clin Psych


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     Processes and Practices: Understanding the Client, Gwenda M. Willis, PhD, PG Dip Clin Psych,
      David S. Prescott, LICSW
     How Should We Communicate Offender Risk to Laypeople? “Same Score, Different
      Message? A Replication/Extension of Varela et al. (2014), L. Maaike Helmus, PhD,
      N. Zoe Hilton, PhD, CPsych, Daniel Murrie, PhD
     How Do Adversarial Allegiance, Race, and Treatment Influence Risk Communication?
        Daniel Murrie, PhD, L. Maaike Helmus, PhD, N. Zoe Hilton, PhD, CPsych
     Does Using Graphs Help in Certain Types of Risk Communication? N. Zoe Hilton, PhD,
      L. Maaike Helmus, PhD, Daniel Murrie, PhD
     Teaching Good Sex: A Method for Violence Prevention, Megan Foster, BA, JPR, PPPM
     Typologies of Adolescents: Updating Typology Research of Adolescents Who
      Have Engaged in Sexually Abusive Behavior, Tom Leversee, MSW, LCSW
     An Empirically Derived Typology of Adolescents Accused of Sexual Misconduct,
       Michael F. Caldwell, PsyD, KiDeuk Kim, PhD, Emily Tiry, MA
     Vancouver, British Columbia, Canada                                        October 2018

  2016 Static-99R Booster Training, L. Maaike Helmus,
     Independent Study Program Online                                            March 2017

   APA – Understanding People with Substance Use Disorders and Addictions,
     Greg Neimeyer, PhD Online Training
   Evidence-Based Clinical Practice Guidelines for the Management of Substance
         Use Disorders, Greg Neimeyer, PhD Online Training                     March 2017

   APA – Overview of Substance Use Disorders and Addictions, Greg Neimeyer, PhD
     Screening, Brief Intervention, and Referral for Treatment (SBIRT) for Substance
     Use Disorders and Addictions, Greg Neimeyer, PhD Online Training              February 2017

   MiATSA – Trauma-Informed Practice in Correctional and Forensic Setting
      Dr. Jill Levenson DeWitt, MI                                               November 2016

   Center for Sex Offender Management (CSOM)- Collaboration Between
     Sexual Assault Victim Advocates and Sex Offender Management Practitioners:
     Promising Examples from the Field                                          July 2016

   ATSA – 34th Annual Research and Treatment Conference
    Healthy Sexuality and Sex Offender Treatment, Michael H. Miner, PhD
    Internet-based Child Sexual Exploitation: Case Formulation and Intervention Planning,
       Hannah L. Merdian, PhD & Derek Perkins, PhD
    Plenary: From Sweeping Controversies Towards a Differentiated View on the Effects of
    Sexual Offender Treatment, Friedrich Lösel, Dr. Phil., Dr. SC. H.C.
    How to Use the Sex Offender Treatment Intervention and Progress Scale (SOTIPS),
      Robert J. McGrath, MA, Georgia F. Cummings, BS, Michael P. Lasher, MA
    Neurocognitive Factors and Sexual Offending, Kerensa Hocken, PhD,
       Christine Norman, PhD, Rebecca Lievesley, MSc, Carrie C. LeMay, MS,
       Jill D. Stinson, PhD


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      How Can Juvenile Sexual Risk Assessment be Best Used to Guide Treatment and
        Rehabilitation? Phil Rich, EdD
      Plenary: Development and Prevention of Physical Aggression: The Long-Term Gene-
        Environment Perspective, Richard E. Tremblay, PhD
      Emerging Practices in Assessing the Risk of Sexual Recidivism, KiDeuk, PhD,
        Grant Duwe, PhD, Elizabeth J. Letourneau, PhD, Michael F. Caldwell, PsyD
      Through a Public Health Lens: Community Based Prevention for ID Offenders,
        Jordan Hoath, BA, MA,
      Sexual Offenders with Intellectual Disabilities, Michael Dixon, PhD, Jerry Rea, PhD,
         Luke Lynn, BSc, Katie Miller, DSW, Jordan Hoath, BA, MA, Candidate
      Plenary: What Turns Us On? Insights from Research on Gendered Sexual Response,
        Meredith, Chivers, PhD
      Plenary: Sexual Assault Perpetrators: What Psychosocial Factors Increase Men’s Likelihood
        of Being Sexually Aggressive? Antonia Abbey, PhD
        Montreal, Quebec, Canada                                                        October 2015

   MPA – The Role of Psychological Trauma in Physical and Mental Health Problems,
    Colin A. Ross, MD & Debra Smith, PsyD Northern Lakes CMH. Traverse City MI May 2015

   APA – Approaches to Ethics in Psychology Booster Learning Series,
     Greg Neimeyer, PhD      Independent Study Program Online                         December
2014

   APA – Approaches to Ethics in Psychology
     Emerging ‘Neuroethics,’ Ethical Institutions and Ethical Instincts: The Challenge
       and Promise of Ethical Reasoning in Professional Practices,
       Robert Kinscherff, PhD Esq.
    Assessing Against the Tide: Ethical and Forensic Challenges in Risk Assessment
       of Problematic Sexual Behaviors or Adjudicated Sex Offenses Among Youth.
       Robert Kinscherff, PhD Esq.
    A Primer on Distinguishing Clinical and Forensic Roles and Applying Ethical
      Principles in Forensic Psychology Practice, Robert Kinscherff, PhD Esq. Online November
2014

   ATSA – 33rd Annual Research and Treatment Conference
    Motivational and Therapeutic Engagement with Sexual Offenders, David S. Prescott, L.I.C.S.W.
    What If We Treated Violence Like a Disease? Gary Slutkin, M.D.
    A Billion Wicked Thoughts: What the Internet Reveals about Sexual Desire, Ogi Ogas, Ph.D.,
      Sai Gaddam, Ph.D.
    Paradigms, Paroxysms, and Progress: Professional Patience and Responsibility,
       Robert Kinscherff, Ph.D., J.D.
    Challenging the Status Quo: An Incentive Theory of Sexual Motivation as a Framework for
       the Description of Sexual Offending Behavior, Wineke J. Smid, M.Sc.,
       Jan Willen Van den Berg, M.Sc.
    A New Frontier in the Treatment of Sexual Offenders, Tani Burton, M.S.W.
    How Can We Explain Incest Offending? Comparing Intrafamilial and Extrafamilial


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     Offenders on Sexual Deviance: A Meta-Analysis, Ian V. McPhail, M.A.
   Comparing Intrafamilial and Extrafamilial Offenders on Antisociality: A Meta-Analysis,
     Lesleigh E. Pullman, Ph.D. Candidate
   What Else Distinguishes Intrafamilial and Extrafamilial Offenders Against Children?”
      Michael C. Seto, Ph.D.
   An Empirically Informed Conceptual Model of Risk: Reconceptualizing Dynamic Risk Factors,
      Deidre D’Orazio, Ph.D., David Thornton, Ph.D.
    Long-term Vulnerabilities, Human Agency, and The Accumulation of Prosocial and Antisocial
     Capital, David Thornton, Ph.D., Deidre D’Orazio, Ph.D.
   Accounting for Change in Models of Risk, Deidre D’Orazio, Ph.D., David Thornton, Ph.D.
   The Psychological Constructs Assessed by Static Risk Factors:
    Incremental Validity of Risk Tools: How Construct Validity Can Help,
       Robert Lehmann, Ph.D. Candidate
     Are there Psychological Constructs in the Static-99R and Static-200R?
       Sébastien Brouilette-Allarie, Ph.D. Candidate
     The Construct Validity of the General Criminality Subscale of the Static-2002R?
       Kelly M. Babchishin, M.A.
     Chicago, IL                                                                   Oct – Nov 2013

 MPA: Intellectual Disability: Diagnosis, Clinical Features and Treatment Approaches June 2013

  MiATSA: Internet Child Pornography Offenders: Best Practices for Assessment
   and Testimony Based on the Empirical Literature, Eric Imhof, Psy.D.                May 2013

  Justice Institute of British Columbia (JIBC) – STABLE-2007/ACUTE-2007: Sex
      Offender Needs Assessment, (online course).                            Nov – Dec 2012

   MPA: What a Practicing Psychologist Should Know About the Licensing Board,
    Judith Kovach, Ph.D. Okemos, MI                                                   June 2011

   Assessments, Structured Sex Offender Treatment Review and Community
   Education, Chris Lobanov-Rostovsky, Greg Brown Peshawbestown, MI                   April 2011

   MiATSA –
    Static-99/R Training, Karl Hanson, Ph.D.
    How Do We Measure Treatment Progress and Client Reintegration?
      Contemporary Models for Persons Who Sexually Abuse,
      Robin Wilson, Ph.D., ABPP Lansing, MI                                           April 2011




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